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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                             CASE NO.: 4:05-CR-039-SPM

GIGI BEARD,

           Defendant.
________________________________/

       ORDER EXTENDING TIME FOR DEFENDANT BEARD’S
                    VOLUNTARY SURRENDER

      THIS CAUSE comes before the Court upon “Motion for Reconsideration of

Surrender Date” (doc. 77) filed October 29, 2006. As grounds, counsel advises

that there is a delay in assigning Defendant to the institution recommended by

the Court at sentencing. Counsel asks that Defendant be permitted to surrender

after the Thanksgiving holiday.

      The Court finds good reason to grant the extension. Accordingly, it is

      ORDERED AND ADJUDGED as follows:

      1.     The motion (doc. 77) is granted.

      2.     Defendant is ordered to surrender to the United States Marshal at

             Gainesville, Florida at 12:00 o’clock noon no later than Monday,
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           December 18, 2006.

     DONE AND ORDERED this thirteenth day of November, 2006.


                                s/ Stephan P. Mickle
                            Stephan P. Mickle
                            United States District Judge
